838 F.2d 472
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Moses SWOOPE, Plaintiff-Appellant,v.GOULD, INC.--OCEAN SYSTEMS DIVISION, Defendant-Appellee.
    No. 86-3856.
    United States Court of Appeals, Sixth Circuit.
    Feb. 4, 1988.
    
      Before LIVELY, Chief Judge, NATHANIEL R. JONES and BOGGS, Circuit Judges.
    
    ORDER
    
      1
      This case has been referred to a panel of this court pursuant to Rule 9(a), Rules of the Sixth Circuit.  Upon examination of the record and briefs, this panel unanimously agrees that oral argument is not needed.  Fed.R.App.P. 34(a).
    
    
      2
      Plaintiff appeals from the dismissal of his employment discrimination action filed under 42 U.S.C. Sec. 1981.  Plaintiff filed the action in the district court on January 10, 1986, alleging that he was wrongfully fired from his job with defendant on March 17, 1982 because he is black.  On August 14, 1986, the district court dismissed the action as barred by Ohio's one-year statute of limitations, Ohio Rev.Code Ann. Sec. 2305.11.
    
    
      3
      The district court applied the one-year statute of limitations to plaintiff's action retroactively pursuant to this court's pronouncement in Mulligan v. Hazard, 777 F.2d 340, 344 (6th Cir.1985), cert. denied, 106 S.Ct. 2902 (1986).  However, this court has more recently determined that this statute of limitations should not be applied retroactively where, as here, the application would result in a shorter limitations period than had previously been applied in Sec. 1981 actions.    Demery v. City of Youngstown, 818 F.2d 1257, 1264 (6th Cir.1987).  Ohio's six-year statute of limitations, Ohio Rev.Code Ann. Sec. 2305.07, had previously been applied in Sec. 1981 actions.    Mason v. Owens-Illinois, Inc., 517 F.2d 520 (6th Cir.1975).  Therefore, the six-year statute of limitations must be applied in this case.
    
    
      4
      Accordingly, the judgment of the district court is vacated pursuant to Rule 9(b)(6), Rules of the Sixth Circuit, and the case is remanded to the district court for further proceedings.
    
    